           Case 1:22-cr-00187-RP Document 31 Filed 05/15/23 Page 1 of 1



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
               Plaintiff,                         §
                                                  §
v.                                                §                          1:22-CR-187-RP
                                                  §
STEVE RAY SHICKLES, JR.,                          §
                                                  §
               Defendant.                         §

                                             ORDER

       Before the Court is Defendant Steve Ray Shickles, Jr.’s (“Defendant”) motion for

reconsideration. (Dkt. 30). Defendant’s certificate of service notes that the Government has been

served with a copy of the motion, but not third-party movant Simple Helix LLC (“Movant”). (Id.).

       IT IS THEREFORE ORDERED that Defendant shall serve a copy of the motion and

this order via email to Movant as soon as possible. Movant shall have 7 days from the date of service

to respond to Defendant’s motion for reconsideration.

       SIGNED on May 15, 2023.


                                            _____________________________________
                                            ROBERT PITMAN
                                            UNITED STATES DISTRICT JUDGE




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